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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                                )
 E.Q., et al.,                                  )
                                                )
                 Plaintiffs,                    )
                                                ) Civil Action No. 1:25-cv-00791
         v.                                     )
                                                )
 U.S. DEPARTMENT OF HOMELAND                    )
 SECURITY, et al.,                              )
                                                )
                 Defendants.                    )
                                                )
                                                )

                     NOTICE REGARDING REMOVAL PLANS FOR E.Q.

        On June 3, 2025, the Defendants filed a Notice Regarding Removal Plans for E.Q. informing

the Court that the Department of Homeland Security (“DHS”) will not remove E.Q. before June 16,

2025. The Defendants now inform the Court that DHS will not remove E.Q. before June 30, 2025.

DATE: June 11, 2025                            Respectfully submitted,

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